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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN



John Doe A, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 2:22−cv−10209−MAG−CI
                                                       Hon. Mark A. Goldsmith
Gretchen Whitmer, et al.,

                                   Defendant(s),



                               NOTICE TO APPEAR REMOTELY

  PLEASE TAKE NOTICE that a remote hearing has been scheduled before District Judge
Mark A. Goldsmith as follows:

      • STATUS CONFERENCE: February 26, 2025 at 03:30 PM

    The Court will host the hearing. Prior to the proceeding date, instructions for joining the
hearing will be emailed to the participating attorneys. Be advised that this is an
attorneys−only proceeding. Connection information and instructions may not be forwarded,
distributed or shared with non−participants without the Court’s advance approval.

   ADDITIONAL INFORMATION:              The Court will email the Zoom link to the attorneys of
record separately



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/C Ciesla
                                                   Case Manager

Dated: February 21, 2025
